

People v Gorocs (2021 NY Slip Op 00268)





People v Gorocs


2021 NY Slip Op 00268


Decided on January 19, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 19, 2021

Before: Webber, J.P., Mazzarelli, González, Scarpulla, Shulman, JJ. 


Ind No. 4745/16 Appeal No. 12885 Case No. 2020-04131 

[*1]The People of the State of New York, Respondent,
vZolton Gorocs, Defendant-Appellant.


Stephen Chu, Interim Attorney-in Charge, Office of the Appellate Defender, New York (Gabe Newland of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Rachel Bond of counsel), for respondent.



Order, Supreme Court, New York County (Ann E. Scherzer, J.), entered on or about September 24, 2019, which adjudicated defendant a level two sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court properly exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). There were no mitigating factors that were not adequately taken into account by the guidelines, and are outweighed by
aggravating factors such as defendant's possession of particularly disturbing pornographic images of children as young as four years of age, and evidence that defendant shared the pornographic images on social media (see e.g. People v Bell, 149 AD3d 666 [1st Dept 2017], lv denied 29 NY3d 916 [2017]). Defendant's age does not warrant a departure under all the circumstances.
Defendant did not preserve his challenge to the sufficiency of the court's findings. In any event, "there is no authority requiring the court to articulate its consideration of each step and its conclusions" (People v Diaz, 143 AD3d 552, 552 [1st Dept 2016]). The court's reasoning in denying a departure was sufficiently explained on the record, and there is no need for a remand for further proceedings. 
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 19, 2021








